Case 8:20-cv-00043-JVS-ADS Document 100 Filed 06/04/20 Page 1 of 2 Page ID #:1049




  1   COLIN REARDON (NY Bar #4945655)
      E-mail: colin.reardon@cfpb.gov
  2   Phone: (202) 435-9668
      E. VANESSA ASSAE-BILLE (NY Bar #5165501)
  3   E-mail: elisabeth.assae-bille@cfpb.gov
      Phone: (202) 435-7688
  4   1700 G Street, NW
      Washington, D.C. 20552
  5   Fax: (202) 435-5471
  6   LEANNE E. HARTMANN (CA Bar #264787) – Local Counsel
      E-mail: leanne.hartmann@cfpb.gov
  7   Phone: (415) 844-9787
      301 Howard St., Suite 1200
  8   San Francisco, CA 94105
      Fax: (415) 844-9788
  9
      Attorneys for Plaintiff Bureau of Consumer Financial Protection
 10
 11                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 12
 13   Bureau of Consumer Financial Protection, )
                                               )               Case No.: 8-20-cv-00043-JVS-ADS
 14                    Plaintiff,              )
                                               )               APPLICATION FOR CLERK TO
 15               vs.                          )               ENTER DEFAULT AGAINST ASSURE
                                               )               DIRECT SERVICES, LP
 16   Chou Team Realty, LLC, et al.,           )
                                               )
 17                    Defendants.             )
                                               )
 18                                            )
 19
 20         Plaintiff Bureau of Consumer Financial Protection (“Bureau”) requests
 21   that the Clerk of Court enter default against Assure Direct Services, LP, under
 22   Federal Rule of Civil Procedure 55(a), on the ground that it failed to timely
 23   appear, answer, or otherwise defend this action.
 24         Plaintiff served the summons and Complaint upon Assure Direct
 25   Services, LP, on March 23, 2020, as evidenced by the proof of service on file
 26   with this Court. Assure Direct Services, LP has not answered, moved to
 27
 28
                   APPLICATION FOR CLERK TO ENTER DEFAULT AGAINST ASSURE DIRECT SERVICES, LP
                                                      1
Case 8:20-cv-00043-JVS-ADS Document 100 Filed 06/04/20 Page 2 of 2 Page ID #:1050




  1   dismiss, or otherwise appeared in this action, and the time within which it may
  2   appear has expired.
  3         The above-stated facts are set forth in the accompanying declaration of
  4   Colin Reardon.
  5
  6   Dated: June 4, 2020                            Respectfully Submitted,
  7                                                  /s/ Colin Reardon
                                                     Leanne E. Hartmann
  8                                                  Colin Reardon (pro hac vice)
                                                     E. Vanessa Assae-Bille (pro hac vice)
  9                                                  Bureau of Consumer Financial Protection
                                                     1700 G Street, NW
 10                                                  Washington, D.C. 20552
 11                                                  Attorneys for Plaintiff Bureau of
                                                     Consumer Financial Protection
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                   APPLICATION FOR CLERK TO ENTER DEFAULT AGAINST ASSURE DIRECT SERVICES, LP
                                                      2
